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                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                          No: 19-1573

                                         Jason Stockley

                                                     Appellant

                                                v.

Jennifer M. Joyce, in her individual and official capacity as former Circuit Attorney for the City
                                  of St. Louis, Missouri, et al.

                                                     Appellees

______________________________________________________________________________

       Appeal from U.S. District Court for the Eastern District of Missouri - St. Louis
                                  (4:18-cv-00873-CAS)
______________________________________________________________________________

                                          MANDATE

       In accordance with the opinion and judgment of 06/29/2020, and pursuant to the

provisions of Federal Rule of Appellate Procedure 41(a), the formal mandate is hereby issued in

the above-styled matter.

                                                      August 18, 2020




Clerk, U.S. Court of Appeals, Eighth Circuit




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